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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF RHODE ISLAND

   CITIBANK, N.A AS TRUSTEE FOR AMERICAN HOME
   MORTGAGE ASSETS
   TRUST 2006-3, MORTGAGE BACKED PASS-THROUGH
   CERTIFICATES SERIES 2006-3

               VS                        C.A. NO:1:18-cv-427-JJM

   KATHERINE L. CAITO
   INTERNAL REVENUE SERVICE

         OBJECTION TO MOTION FOR SUMMARY JUDGMENT

         Defendant, by her attorney, objects to Plaintiff’s Motion for

   Summary Judgment for the reasons stated in the attached Memorandum of

   Law and Affidavits. The Defendant has demonstrated that there are genuine

   issues of material fact, mitigating against Summary Judgment.



                                  KATHERINE L. CAITO
                                  By her Attorney
   July 15, 2019
                                  /s/ John B. Ennis
                                  John B. Ennis, Esq. #2135
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                                CERTIFICATION

         I hereby certify that I emailed a copy of the above Objection to

   Motion for Summary Judgment to the following electronically on this 15th

   day of July, 2019:

   Samuel Bodurtha
   Ethan Z. Tieger


                                                /s/ John B. Ennis
